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1700 G Street NW,
Washington, DC 20552
June 12, 2019
Via ECF and Overnight Mail (to previously provided address)
The Honorable Thomas I. Vanaskie, Special Master
U.S. District Court, Middle District of Pennsylvania
William J. Nealon Federal Bldg. & U.S. Courthouse
235 N. Washington Avenue
Scranton, PA 18503

       Re:      CFPB v. Navient Corp., et al., Case No. 3:17-CV-00101-RDM
Dear Judge Vanaskie:
       I am writing on behalf of the Bureau to submit documents to Your Honor for in camera
review, pursuant to paragraph 2 of Special Master Report #35 (Doc. 323). The Bureau is providing
the documents on the enclosed flash drive, and will transmit the password for the enclosed materials
via email.

         As Your Honor is aware, Defendants requested in camera review of 629 documents
withheld in whole or in part by the Bureau on the basis of the deliberative process privilege. The
Bureau is no longer asserting the deliberative process privilege over 27 of these documents –
specifically, 4 emails concerning the same credit reporting blog post that was at issue with respect
to communications that the Bureau elected not to recall, as described in the Bureau’s May 10, 2019
letter; 22 of the 55 documents relating to the Payback Playbook; and 1 of the 78 documents
pertaining to communications with the Department of Education. The Bureau is producing these 27
documents to Defendants today. Accordingly, the Bureau is not submitting these 27 documents to
Your Honor, and the enclosed flash drive contains 602 documents.

        The Bureau has placed each of the 602 documents into a folder on the enclosed flash drive
that corresponds to the groups reflected in Defendants’ May 17, 2019 letter. The Bureau is
providing to Your Honor: (1) an Excel spreadsheet that includes the privilege log entries for these
602 documents; and (2) a document identifying the additional privilege log categories that the
Bureau provided to Defendants on April 30, 2019. The filename of each of the 602 documents on
the enclosed flash drive refers to the document number indicated in column A of the Excel
spreadsheet.

       The Bureau has withheld in their entirety 592 of the 602 documents. These 592 documents
have blank entries under the “ProdBegBates” field (column B) of the attached spreadsheet. The
Bureau produced the other 10 documents in redacted form, asserting privilege over portions of those
documents. Because they were produced to Defendants in redacted form, these 10 documents (nos.
5605, 5608, 5609, 6155, 8702, 8703, 8704, 8705, 20108, 20188) have Bates numbers listed in the
“ProdBegBates” field (column B) of the spreadsheet. The redacted versions of these 10 documents
are contained in folders on the enclosed disk titled “Category 37 docs – Redacted” and “ED
communications – Redacted.”

      As the Bureau indicated on the June 4, 2019 teleconference, to narrow the volume of
documents Your Honor has to review, the Bureau will submit a letter to Your Honor on June 14,
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2019 that identifies the subset of documents in each group that includes at least one instance of
every unique individual email and one copy of every unique non-email document.

       If Your Honor has any questions regarding the foregoing, the Bureau would welcome the
opportunity to address those questions at a forthcoming teleconference or in writing.


                                                      Respectfully submitted,
                                                      /s/ Nick Jabbour




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